Case 8:20-cv-00993-MCS-ADS Document 310-4 Filed 02/28/22 Page 1 of 25 Page ID
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                           EXHIBIT

                            TAB 5-A
Case 8:20-cv-00993-MCS-ADS Document 310-4 Filed 02/28/22 Page 2 of 25 Page ID
                                 #:14249



    TAB 5-A: TABLE OF COSTS FOR DEPOSITION TRANSCRIPTS

                                                                 Per                                Shipping     Total
                                             Invoice   No. of   Page    Transcription                  &       Transcript
          Deponent            Depo Date        No.     Pages    Cost        Cost1        Rough      Handling     Costs
     Sasaki, Gail (Netlist)   8/5/2021      5186469     397     $3.85       $1,528.45       $0.00     $35.00   $1,563.45
     Metz, Steven
     (former Samsung
     employee)                8/6/2021      5187056     181     $5.25        $950.25     $271.50      $35.00   $1,256.75
     Jiang, Raymond
     (former Netlist
     employee)                8/8/2021      5189177     285     $3.85       $1,097.25       $0.00     $35.00   $1,132.25

     Han, Kyuhan
     (Samsung)                8/9/2021      5190986     180     $5.25        $945.00     $270.00      $35.00   $1,250.00
     Kim, Indong
     (Samsung)                8/10/2021     5195011     181     $5.25        $950.25     $271.50      $35.00   $1,256.75
     Ji, Hyun‐Ki
     (Samsung)                8/11/2021     5239649     162     $5.25        $850.50        $0.00     $35.00    $885.50

     Kim, Lane Kihoon
     (Samsung)                8/11/2021     5198534     150     $5.25        $787.50     $225.00      $35.00   $1,047.50
     Yu, Steven (Netlist)     8/11/2021     5195887     268     $3.85       $1,031.80    $402.00      $35.00   $1,468.80
     Hong, Paik Ki
     (Netlist)                8/12/2021     5200952     357     $3.85       $1,374.45       $0.00     $35.00   $1,409.45

     Kim, Ho‐Jung
     (Samsung)                8/12/2021     5201071     169     $5.25        $887.25     $253.50      $35.00   $1,175.75

     Yoo, Hyeok‐Sang
     (Samsung) (Vol. 1)       8/12/2021     5201632     137     $5.25        $719.25     $205.50      $35.00   $1,409.45
     Hong, Chuck
     (Netlist)                8/13/2021     5201667     294     $3.85       $1,131.90       $0.00     $35.00   $1,166.90


     Yoo, Hyeok‐Sang
     (Samsung) (Vol. 2)       8/13/2021     5201662     92      $5.25        $483.00     $138.00      $35.00    $656.00

     Knuth, Neal
     (Samsung)                8/14/2021     5203329     244     $5.25       $1,281.00    $366.00      $35.00   $1,682.00

     Jeon, Byung Yeop
     (Samsung) (Vol. 1)       8/15/2021     5204011     100     $5.25        $525.00     $150.00      $35.00    $710.00

     Jeon, Byung Yeop
     (Samsung) (Vol. 2)       8/17/2021     5210903     149     $5.25        $782.25        $0.00     $35.00    $817.25
     McAlexander,
     Joseph (Samsung
     expert)                  9/14/2021     5265321     170     $5.25        $892.50     $255.00      $35.00   $1,182.50
     Akemann, Mike
     (Netlist expert)         9/16/2021     5270123     244     $3.85        $939.40     $366.00      $35.00   $1,340.40

     Kam, Byung Wook
     (Netlist expert)         9/20/2021     5273071     149     $3.85        $573.65     $223.50      $35.00    $832.15
     Kidder, Douglas
     (Samsung expert)         9/20/2021     5365325     267     $5.25       $1,401.75    $400.50      $35.00   $1,837.25

                                   TOTAL:                                $19,132.40     $3,798.00   $700.00    $24,080.10



1
     Certain of the attached transcript invoices include charges for expedited delivery (see also letter from
     Veritext immediately following). All expedite charges have been deducted as shown in the attached
     letter and invoice attachments below and are not included in the above cost totals.
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Costa Mesa
611 Anton Boulevard       Raymond LaMagna
                          Gibson, Dunn & Crutcher LLP
Suite 500
                          333 South Grand Avenue
Costa Mesa, CA 92626      Los Angeles, CA
P 800.660.3187            90071-3197
                          Tel: +1 213.229.7000
                          Fax: +1 213.229.7520
Los Angeles
707 Wilshire Boulevard    Dear Mr. LaMagna:
Suite 3500
Los Angeles, CA 90017     We write to confirm the pricing and fees charged to Netlist for depositions in connection
                          with the Netlist v. Samsung matter (C.D. Cal. Case No. 8:20-cv-00993-MSC-ADS). Per
P 866.299.5127            our standard pricing with Gibson Dunn on other matters, the base price for deposition
                          transcription for this matter has been set at $5.25 per page for the party booking and
Sacramento                taking the deposition (i.e., the order for the original transcript). The base transcript price is
                          reduced to $3.85 per page for orders from non-taking parities (i.e., a defending party)
One Capitol Mall
                          when an original transcription order was already placed by the party booking and taking
Suite 240                 the deposition.
Sacramento, CA 95814
P 916.379.5553            I note that several invoices in the above matter combined the base fee for the transcript
                          with an expedite fee into one line entry. I can confirm that the base fee component for
                          these transcripts was according to the above schedule. To avoid confusion, I have
San Diego                 separately listed below the page and base transcript fees from the expedite fees that were
550 West C Street         billed for these invoices. Our other invoices in the above matter either did not involve an
Suite 800                 expedited request or listed the fee for that request separately.
San Diego, CA 92101                                               Party                                            Base
P 619.231.0403            Invoice                                                      No. of        Unit
                                           Deponent           Booking/Taking                                      Fee for
                            No.                                                        Pages         Price
                                                                Deposition                                      Transcript
San Francisco             5186469      Gail M. Sasaki            Samsung                397           $3.85      $1,528.45
101 Montgomery            5189177      Raymond Jiang             Samsung                285           $3.85      $1,097.00
                          5196897      Steven Yu                 Samsung                268           $3.85      $1,031.80
Suite 450
                          5200952      Paik Ki Hong              Samsung                357           $3.85      $1,374.45
San Francisco, CA 94104
                          5201667      Chuck Hong                Samsung                294           $3.85      $1,131.90
P 415.274.9977                         Byungyeop Jeon,
                          5210903                                   Netlist             149           $5.25        $782.25
                                       Vol. II
                                       Joseph
                          5265321                                   Netlist             170           $5.25        $892.50
                                       McAlexander
                          5365325      Douglas Kidder               Netlist             267           $5.25      $1,401.75

                          I certify that the above is true and accurate. Please contact me at (213) 254.3010 or
                          nkirsch@veritext.com if you have any questions.


                          Best regards,



                          Nina Kirsch
                          Regional Vice President




                                                www.veritext.com
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           Case 8:20-cv-00993-MCS-ADS Document 310-4 Filed 02/28/22 Page 5 of 25 Page ID
                                            #:14252



        Veritext, LLC - California Region
        Tel. 877-955-3855 Email: calendar-la@veritext.com
        Fed. Tax ID: XX-XXXXXXX




        Bill To: Timothy P. Best Esq                                                                                         Invoice #:        5187056
                    Gibson Dunn & Crutcher LLP
                                                                                                                          Invoice Date:       8/10/2021
                    333 S Grand Ave, 47th Floor
                    Los Angeles, CA, 90071                                                                              Balance Due:          $4,554.80


        Case: Netlist, Inc. v. Samsung Electronic Co, Ltd, Et Al (8:20-cv-993-MCS
                                                                                                                           Proceeding Type: Depositions
        (ADSx))
        Job #: 4743983         |   Job Date: 8/6/2021 | Delivery: Daily                                       Matter #:                     66889-00003
        Location:                  Los Angeles, CA
        Billing Atty:              Timothy P. Best Esq
        Scheduling Atty:           Timothy P. Best Esq | Gibson Dunn & Crutcher LLP

        Witness: Steven Christopher Metz                                                                     Quantity              Price       Amount

                    Original with 1 Certified Transcript                                                      181.00               $5.25        $950.25

                    Transcript - Expedited                                                                    181.00               $5.25        $950.25

                    Exhibits                                                                                    73.00              $0.65         $47.45

                    Realtime Services                                                                         181.00               $1.85        $334.85

                    Rough Draft                                                                               181.00               $1.50        $271.50

                    Surcharge - Video Proceeding                                                              181.00               $0.50         $90.50

                    Litigation Package-Secure File Suite                                                         1.00             $55.00         $55.00

                    Production & Processing                                                                      1.00             $50.00         $50.00

                    Concierge Tech Support                                                                       6.00            $150.00        $900.00

                    Attendance (Full Day)                                                                        1.00            $250.00        $250.00

                    Electronic Delivery and Handling                                                             1.00             $35.00         $35.00

                                                                                                             Quantity              Price       Amount

                    Veritext Virtual Primary Participants                                                        1.00            $295.00        $295.00

                    Exhibit Share                                                                                1.00            $325.00        $325.00

        Notes:      Daily Expedite




                                        THIS INVOICE IS 30 DAYS PAST DUE, PLEASE REMIT - THANK YOU

         Please remit payment to:
         Veritext                                        To pay online, go to www.veritext.com
         P.O. Box 71303                                                                                                        Invoice #:       5187056
                                                                Veritext accepts all major credit cards
         Chicago IL 60694-1303                              (American Express, Mastercard, Visa, Discover)                 Invoice Date:       8/10/2021
42700    Fed. Tax ID: XX-XXXXXXX                                                                                           Balance Due:        $4,554.80
Case 8:20-cv-00993-MCS-ADS Document 310-4 Filed 02/28/22 Page 6 of 25 Page ID
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                                                           Transcript Total Less
                                                           Expedited Charge
                                                           $3.85 /pp =$1,097.25
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                                 #:14254
Case 8:20-cv-00993-MCS-ADS Document 310-4 Filed 02/28/22 Page 8 of 25 Page ID
                                 #:14255
Case 8:20-cv-00993-MCS-ADS Document 310-4 Filed 02/28/22 Page 9 of 25 Page ID
                                 #:14256
          Case 8:20-cv-00993-MCS-ADS Document 310-4 Filed 02/28/22 Page 10 of 25 Page ID
                                           #:14257



        Veritext, LLC - California Region
        Tel. 877-955-3855 Email: calendar-la@veritext.com
        Fed. Tax ID: XX-XXXXXXX




        Bill To: Jason C. Lo Esq                                                                                             Invoice #:        5198534
                    Gibson Dunn & Crutcher LLP
                                                                                                                          Invoice Date:       8/18/2021
                    1881 Page Mill Rd
                    Palo Alto, CA, 94304                                                                                Balance Due:          $5,346.90



        Case: Netlist Inc. v. Samsung Electronics Co., Ltd (8:20cv00993MCSDFM)                                             Proceeding Type: Depositions

        Job #: 4759204         |   Job Date: 8/11/2021 | Delivery: Daily                                      Matter #:                     66889-00003
        Location:                  Los Angeles, CA
        Billing Atty:              Jason C. Lo Esq
        Scheduling Atty:           Jason C. Lo Esq | Gibson Dunn & Crutcher LLP

        Witness: Lane Kihoon Kim                                                                             Quantity              Price       Amount

                    Original with 1 Certified Transcript                                                      150.00               $5.25        $787.50

                    Transcript - Expedited                                                                    150.00               $5.25        $787.50

                    Surcharge - Extended Hours                                                                   7.50             $95.00        $712.50

                    Exhibits                                                                                  176.00               $0.65        $114.40

                    Realtime Services                                                                         150.00               $1.85        $277.50

                    Rough Draft                                                                               150.00               $1.50        $225.00

                    Surcharge - Video Proceeding                                                              150.00               $0.50         $75.00

                    Litigation Package-Secure File Suite                                                         1.00             $55.00         $55.00

                    Production & Processing                                                                      1.00             $50.00         $50.00

                    Concierge Tech Support                                                                       7.75            $150.00      $1,162.50

                    Veritext Exhibit Package (ACE)                                                               1.00             $45.00         $45.00

                    Attendance (Full Day)                                                                        1.00            $250.00        $250.00

                    Surcharge - Interpreted Proceeding                                                           1.00            $150.00        $150.00

                    Electronic Delivery and Handling                                                             1.00             $35.00         $35.00

                                                                                                             Quantity              Price       Amount

                    Veritext Virtual Primary Participants                                                        1.00            $295.00        $295.00

                    Exhibit Share                                                                                1.00            $325.00        $325.00




         Please remit payment to:                                                                                              Invoice #:       5198534
         Veritext                                      To pay online, go to www.veritext.com                               Invoice Date:       8/18/2021
         P.O. Box 71303                                         Veritext accepts all major credit cards
         Chicago IL 60694-1303                                                                                             Balance Due:        $5,346.90
                                                            (American Express, Mastercard, Visa, Discover)
42700    Fed. Tax ID: XX-XXXXXXX
Case 8:20-cv-00993-MCS-ADS Document 310-4 Filed 02/28/22 Page 11 of 25 Page ID
                                 #:14258
Case 8:20-cv-00993-MCS-ADS Document 310-4 Filed 02/28/22 Page 12 of 25 Page ID
                                 #:14259




                                                             Transcript Total Less
                                                             Expedited Charge
                                                             $3.85/pp = $1,37 . 5
Case 8:20-cv-00993-MCS-ADS Document 310-4 Filed 02/28/22 Page 13 of 25 Page ID
                                 #:14260
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                                 #:14261
Case 8:20-cv-00993-MCS-ADS Document 310-4 Filed 02/28/22 Page 15 of 25 Page ID
                                 #:14262




                                                               Transcript Total Less
                                                               Expedited Charge
                                                               $3.85/pp = $1,131.90
Case 8:20-cv-00993-MCS-ADS Document 310-4 Filed 02/28/22 Page 16 of 25 Page ID
                                 #:14263
Case 8:20-cv-00993-MCS-ADS Document 310-4 Filed 02/28/22 Page 17 of 25 Page ID
                                 #:14264
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                                 #:14265
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                                 #:14269
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                                 #:14270
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                                 #:14271
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